June 18, 2010


Mr. Mitchell Madden
MaddenSwell, LLP
1755 Wittington Place, Suite 300
Dallas, TX 75234


Honorable Tracy K. Christopher
14th Court of Appeals
1307 San Jacinto, 11th Floor
Houston, TX 77002
Honorable Caroline E. Baker
295th Civil District Court
Harris County Civil Courthouse
201 Caroline, 14th Floor
Houston, TX 77002

Mr. J. Brett Busby
Bracewell &amp; Giuliani, LLP
711 Louisiana Street, Suite 2300
Houston, TX 77002

RE:   Case Number:  10-0270
      Court of Appeals Number:  01-10-00285-CV
      Trial Court Number:  0680212

Style:      IN RE  GENE E. PHILLIPS, INDIVIDUALLY, AND D/B/A PHILLIPS OIL
      INTERESTS, ET AL.

Dear Counsel:

      Today the Supreme Court of Texas issued the enclosed  abatement  order
in the above referenced-cause.  Effective as of May 17, 2010, this  case  is
abated pursuant to Tex. R. App. P. 8.2 until further  order  of  this  Court
and is removed from  the  Court's  active  docket.  The  Court  directs  the
parties to timely notify the Court of all events  affecting  the  status  of
this case, and, in any event, to file a status report  by  August  2,  2010.
(Justice Guzman not sitting)
                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Mr. Loren Jackson      |
|   |Ms. M. Karinne         |
|   |McCullough             |
|   |Mr. Jeffrey H. Uzick   |

